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                            UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NORTH DAKOTA

In Re:                                            Bankruptcy No. 16-30672

Vortex Drain Tiling LLC,                          Chapter 7

           Debtor.
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                     ORDER FOR SALE OF REAL ESTATE
         FREE AND CLEAR OF LIENS PURSUANT TO 11 U.S.C. § 363(f)

         On November 15, 2018, the Bankruptcy Trustee filed a Motion for Sale of Real

Estate Free and Clear of Liens and Encumbrances pursuant to 11 U.S.C. § 363(f). The

Court received no objections to the motion. Based on the information provided by the

Trustee and other documents filed in this case, the Court finds that the proposed sale is

fair and reasonable and in the best interest of the bankruptcy estate. Therefore,

         IT IS ORDERED that the Motion [Doc 61] is GRANTED. The Bankruptcy Trustee is

authorized to sell to Verso Properties LLP the bankruptcy estate’s interest in the following

described real estate known as 2597 N. 44th Street and 2601 N. 44th Street, Grand Forks,

North Dakota, for the sum of $45,000.00:

         Lots 3 and 4, Block 2, Senske’s Second Addition to the City of Grand Forks,
         Grand Forks County, North Dakota.

         The sale is subject to the terms and conditions described in the motion.

         IT IS ALSO ORDERED that this sale is made free and clear of all liens and

encumbrances and all liens and encumbrances are avoided. The liens avoided in this Order

shall attach to the sale proceeds. The liens and encumbrances avoided include, but are not

limited to the following:

            a. General real estate taxes assessed prior to January 1, 2018, in the amount of
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               $3,861.00.

            b. General real estate taxes assessed on or after January 1, 2018, in the amount
               of $2,131.00.

            c. The remaining indebtedness to McM, Inc., in the approximate amount of
               $31,800.00 as of the anticipated closing date.

       IT IS ALSO ORDERED that the Bankruptcy Trustee is authorized to distribute the

real estate sale proceeds, as follows:

       A.      To Grand Forks County for general real estate taxes assessed prior to
               January 1, 2018, in the approximate amount of $3,861.00.

       B.      To Grand Forks County for general real estate taxes assessed on or after
               January 1, 2018, in the amount of $2,131.00.

       C.      To Trustee’s real estate agent in the amount of $2,400.00.

       D.      To McM, Inc., in the approximate amount of $31,800.00 as of the anticipated
               closing date.

       E.      To the Grand Forks County Recorder, all recording fees for the documents
               to be filed to effectively convey the real estate to the purchaser free and
               clear of liens and encumbrances;

       F.      The balance of the funds will be retained by the bankruptcy estate for further
               administration.

       The Bankruptcy Trustee is authorized to execute all documents necessary to

effectuate this Order. The stay provided by Fed. R. Bankr. P. 6004(h) is waived.

       Dated this 13th day of December, 2018.


                                           /s/ Shon Hastings
                                           Shon Hastings, Judge
                                           United States Bankruptcy Court




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